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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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In re:                                                     Chapter 11 (Subchapter V)

ASSUNCAO BROS., INC.,                                      Case No. 22-16159 CMG

                              Debtor.

                                  CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on January 3, 2023, NGM Insurance

Company’s Limited Objection and Reservation of Rights was e-filed by CM/ECF and served on

all parties registered to receive notification of such filings.

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